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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1471V
                                      Filed: June 10, 2016
                                         UNPUBLISHED

****************************
JENNIFER LEEDY,                           *
                                          *
                     Petitioner,          *      Damages Decision Based on Proffer;
v.                                        *      Influenza (“Flu”) Vaccine; Tendinopathy;
                                          *      Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                       *      Administration (“SIRVA”); Special
AND HUMAN SERVICES,                       *      Processing Unit (“SPU”)
                                          *
                     Respondent.          *
                                          *
****************************
Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for petitioner.
Claudia Barnes Gangi, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On December 4, 2015, Jennifer Leedy (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder
injury related to vaccine administration (“SIRVA”) as a result of an influenza (“flu”)
vaccine she received on October 1, 2014. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

       On April 7, 2016, a ruling on entitlement was issued, finding petitioner entitled to
compensation. On June 9, 2016, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded (a) a lump sum payment of
$106,917.00, representing compensation for pain and suffering ($105,000.00) and lost
earnings ($1,917.00), and (b) a lump sum payment of $4,404.85, representing
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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compensation for satisfaction of the State of New Jersey Medicaid lien. Proffer at 2-3.
In the Proffer, respondent represented that petitioner agrees with the proffered award.
Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer.

        Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner the following:

        A. A lump sum payment of $106,917.00, representing compensation for
           pain and suffering ($105,000.00) and lost earnings ($1,917.00), in the
           form of a check payable to petitioner, Jennifer Leedy, and

        B. A lump sum payment of $4,404.85, representing compensation for
           satisfaction of the State of New Jersey Medicaid line, payable jointly to
           petitioner and

                                 Treasurer, State of New Jersey
                                 Health Management Systems, Inc.
                                 P.O. Box 416522
                                 Boston, MA 02241-6522
                                 Medicaid ID: 243027677601

            Petitioner agrees to endorse this payment to the State of Jew Jersey.

These amounts represent compensation for all damages that would be available under
§ 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

_________________________________________
                                          )
JENNIFER LEEDY,                           )
                                          )
                  Petitioner,             )
                                          )                  No. 15-1471V
v.                                        )                  Chief Special Master Dorsey
                                          )                  (ECF)
SECRETARY OF HEALTH AND                   )
HUMAN SERVICES,                           )
                                          )
                  Respondent.             )
__________________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

   I.   Items of Compensation

        A. Future Medical Care Expenses

        Respondent proffers that based on the evidence of record, petitioner is not entitled to an

award for projected unreimbursable medical care expenses incurred from the date of judgment as

provided under 42 U.S.C. § 300aa-15(a)(1)(A). Petitioner agrees.

        B. Lost Earnings

        The parties agree that based upon the evidence of record, Jennifer Leedy has suffered a

past loss of earnings as a result of her vaccine-related injury. Therefore, respondent proffers that

the Court should award Jennifer Leedy a lump sum of $1,917.00 for lost earnings as provided

under 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner agrees.

        C. Pain and Suffering

        Respondent proffers that the Court should award Jennifer Leedy a lump sum of

$105,000.00 for her actual and projected pain and suffering. This amount reflects that the award

                                                 1
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for projected pain and suffering has been reduced to net present value. See 42 U.S.C. § 300aa-

15(a)(4). Petitioner agrees.

       D. Past Unreimbursable Expenses

       Respondent proffers that based on the evidence of record, petitioner is not entitled to an

award for past unreimbursable expenses as provided under 42 U.S.C. § 300aa-15(a)(1)(A).

Petitioner agrees.

       E. Medicaid Lien

       Respondent proffers that Jennifer Leedy should be awarded funds to satisfy the State of

New Jersey Medicaid lien in the amount of $4,404.85, which represents full satisfaction of any

right of subrogation, assignment, claim, lien, or cause of action the State of New Jersey may

have against any individual as a result of any Medicaid payments the State of New Jersey has

made to or on behalf of Jennifer Leedy from the date of her eligibility for benefits through the

date of judgment in this case as a result of her vaccine-related injury suffered on or about

October1, 2014, under Title XIX of the Social Security Act. Such compensation shall be in the

form of a lump sum payment as forth in section II.B below. Petitioners agree.


    II. Form of the Award.

       The parties recommend that the compensation provided to petitioner should be made

through two lump sum payments as described below, and request that the Chief Special Master’s

decision and the Court’s judgment award the following 1:



1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future pain and
suffering.

                                                 2
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   A.       A lump sum payment of $106,917.00, representing compensation for pain and

   suffering ($105,000.00) and lost earnings ($1,917.00), in the form of a check payable to

   petitioner, Jennifer Leedy.

   B.       A lump sum payment of $4,404.85, representing compensation for satisfaction of

   the State of New Jersey Medicaid lien, payable jointly to petitioner and

                                  Treasurer, State of New Jersey
                                 Health Management Systems, Inc.
                                         P.O. Box 416522
                                    Boston, MA 02241-6522
                                   Medicaid ID: 243027677601

   Petitioner agrees to endorse this payment to the State of New Jersey.

III. Summary of Recommended Payments Following Judgment

   A.       Lump sum payable to petitioner, Jennifer Leedy:                   $106,917.00

   B.       Medicaid Lien:                                                    $   4,404.85



                                         Respectfully submitted,

                                         BENJAMIN C. MIZER
                                         Principal Deputy Assistant Attorney General

                                         RUPA BHATTACHARYYA
                                         Director
                                         Torts Branch, Civil Division

                                         CATHARINE E. REEVES
                                         Acting Deputy Director
                                         Torts Branch, Civil Division

                                         GLENN A. MACLEOD
                                         Senior Trial Counsel
                                         Torts Branch, Civil Division




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                                   s/ Claudia B. Gangi
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Dated: June 9, 2016




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